        Case 6:12-cr-00018-JRH Document 1282 Filed 09/30/16 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                           STATESBORO DIVISION



TELLAS LEVALLAS KENNEDY,

       Movant,

v.                                            Case No. CV616-122
                                                        CR612-018
UNITED STATES OF AMERICA
                   r




     Respondent.

                                      ORDER


       After a careful de novo review of the record in this case, the Court concurs with

the Magistrate Judge's Report and Recommendation, to which objections have been

filed. Accordingly, the Report and Recommendation of the Magistrate Judge is adopted

as the opinion of the Court.

       SO ORDERED this _S^dky of ^Syx£*>//e/ .2016.


                                        J. RANDAI/HALL
                                        UNITEDSTATES DISTRICT JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA
